 1

 2

 3

 4

 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
      BRIAN HEINZ,                                    CASE NO. 2:23-cv-1073
 8
                            Plaintiff,
                                                      ORDER CONTINUING SCHEDULE FOR
 9
             v.                                       DEFENDANT AMAZON.COM, INC.’S
                                                      RENEWED MOTION TO DISMISS FIRST
10    AMAZON.COM, INC. and DOES 1 through             AMENDED COMPLAINT
      10, inclusive, and each of them,
11                           Defendants.

12

13

14          Defendant shall have up to and including September 15, 2023, to renew its pending

15   Motion to Dismiss Plaintiff’s First Amended Complaint, Plaintiff shall have up to and including

16   October 4, 2023, to oppose the renewed Motion to Dismiss Plaintiff’s First Amended

17   Complaint, Defendant shall have up to and including October 13, 2023, to file a reply in support

18   of its renewed Motion to Dismiss Plaintiff’s First Amended Complaint. The renewed Motion to

19   Dismiss Plaintiff’s First Amended Complaint will be noted for October 13, 2023.

20          The Court will reset deadlines pursuant to Fed. R. Civ. P. 26(a)(1) and (f) and Local Rule

21   26(f) upon resolution of the pending Motion to Dismiss Plaintiff’s First Amended Complaint.

22          IT IS SO ORDERED.

23

24
     ORDER CONTINUING SCHEDULE FOR DEFENDANT AMAZON.COM, INC.’S
     RENEWED MOTION TO DISMISS FIRST AMENDED COMPLAINT- 1
 1        Dated this 1st day of September, 2023.



                                                   A
 2

 3                                                 Jamal N. Whitehead
                                                   United States District Judge
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
     ORDER CONTINUING SCHEDULE FOR DEFENDANT AMAZON.COM, INC.’S
     RENEWED MOTION TO DISMISS FIRST AMENDED COMPLAINT- 2
